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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  1:18-cv-24190
                       CASE NO. ______________________________
WILLIAM O. FULLER, and
MARTIN  PINILLA, II
________________________,
      Plaintiff

v.

JOE CAROLLO
________________________,
      Defendant.

                  CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

      Jeffrey W. Gutchess
I, _____________________________________________,                     ______
                                                  as counsel for the plaintiff/defendant,
 WILLIAM O. FULLER, and MARTIN PINILLA, II
_____________________________________________, hereby certify the following:

Check the applicable sections:

  ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary physical
exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

  EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt from
mandatory electronic filing pursuant to Local Rule 5.3(b)(3):
 Pls. Ex. 7, 123, 293, 295, 297, 299, 300, 307, 308, 338, 348, 352, 361, 394, 432, 433, 439, 443, 520, 522, 523,
_____________________________________________________________________________________
 524, 525, 526, 528, 529, 530, 531, 539, 549, 582, 583, 584, 595, 643, 736, 738; DX-275, DX-333, DX-360,
 DX-591, DX-332, DX-669
_____________________________________________________________________________________

Any original exhibits that have been returned to or retained by the filing party after electronic filing shall
be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing party agrees
to return the original exhibits to the Clerk of Court.

This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure to timely
comply with the requirements of Local Rule 5.3(b) may result in the imposition of sanctions.

Signature:       /s/ Jeffrey W. Gutchess
               ________________________________________                Date:           07/07/2023
                                                                                     ___________________
